






Opinion issued February 19, 2009










In The

Court of Appeals

For The

First District of Texas






NO. 01-08-00778-CV






PEGGY WALKER AND MELVIN WALKER,  Appellants


V.


SATTON MORTGAGE SERVICE,  Appellee






On Appeal from the County Civil Court at Law No. 1

Harris County, Texas

Trial Court Cause No. 918782






MEMORANDUM OPINION	Appellants, Peggy and Melvin Walker, have neither established indigence, nor
paid all the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil
cases unless indigent), 20.1 (listing requirements for establishing indigence); see also
Tex. Gov't Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008);
51.941(a) (Vernon 2005), 101.041 (Vernon Supp. 2008) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellants did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Justices Jennings, Keyes, and Higley.


